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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


JOHN SCHOMAEKER,                         :
                                         :
                                         :
      Plaintiff,                         :
                                         :
v.                                       :
                                         :
TRUENET COMMUNICATIONS                   :         CIVIL ACTION NO.
CORP. and COX                            :         1:17-CV-524-AT
COMMUNICATIONS, INC.,                    :
                                         :
      Defendants.                        :


                                     ORDER

      The Court held a telephone conference on June 29, 2017 with counsel for

the parties regarding the parties’ settlement of this lawsuit alleging violations of

the Fair Labor Standards Act (“FLSA”) and breach of Plaintiff’s employment

contract. Plaintiff intends to abandon his FLSA claims. Counsel for the parties

and the Court discussed the terms of settlement and Plaintiff’s rationale for

abandoning his FLSA claims. Based on information provided by counsel for the

parties, the Court finds that the terms of settlement overall are fair and

reasonable under the circumstances and are consistent with the requirements for

Court approval of settlement and dismissal of FLSA claims.

      As the parties have advised the Court that all claims have been resolved in

principle, the parties are directed to file a stipulation of dismissal within 30 days
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of the date of this Order or else file a status update within that same timeframe

regarding   the   finalization   of   the   settlement documents.    The   Court

ADMINISTRATIVELY CLOSES this case.

      IT IS SO ORDERED this 30th day of June, 2017.



                                        _____________________________
                                        Amy Totenberg
                                        United States District Judge




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